
PER CURIAM.
Appellant challenged appellee’s interpretation of its Customer Service Policies, pursuant to which additional fees were assessed against appellant.1 After an eviden-tiary hearing the trial court ruled in favor of appellee, and we affirm. Having con-*414eluded that an ambiguity existed in the Customer Service Policies, the trial court considered the extrinsic evidence offered at the evidentiary hearing and resolved the ambiguity in favor of appellee, whose interpretation more closely comports with the purposes of an impact fee than does the interpretation advanced by appellant.
Affirmed.

. Contractual agreements binding appellant and appellee incorporated by reference the Customer Service Policies of the utility.

